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                               EXHIBIT 4
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¡YA ESTAS LISTO PARA VOLAR!
Revisa a detalle el itinerario de vuelo
Clave de Reservación:                                                  I
Modalidad:                                                             VIVASMART *

  ESTO NO ES UN PASE DE ABORDAR




DETALLES DE PRECIOS
                        1 Adultos                 MXN $     1,273.04
                        1 Infantes                MXN $         0.00
    Vuelo de Ida                                                                            MXN   $      1,603.30
                        Total Tarifa              MXN $     1,273.04
                        Impuestos                 MXN $       330.26
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        Beneficios Adicionales                                                                                 MXN      $      732.76

        IVA                                                                                                    MXN      $      320.93

                                                                                                       Total: MXN $ 2,656.99

DETALLES DE VUELO
Salida
Puerto Vallarta(T) - Monterrey(TC)                 16:25 - 18:00

DOM. 25 MAR. 2018

Vuelo


DETALLES DE PASAJEROS
           Pasajeros                                                              Contacto
           1 Adulto(s)                                                  Nombre:                          VB Ventas MTY Apto POS
                                                                        Teléfono:                        0
Nombre:                                                                 Teléfono Móvil (Celular):
           1 Infante(s) (Menor de 2 años)                               Dirección de correo electrónico:
Nombre:


DETALLES DEL PAGO
 Tarjeta de Crédito
     Número de Pago:22006816                 Fecha de Pago:25/03/2018                 Monto: MXN $ 1,806.99          Estatus: Aprobado
     Número de Pago:22006843                 Fecha de Pago:25/03/2018                 Monto: MXN $ 850.00            Estatus: Aprobado


                                                                                                   Monto pendiente: MXN $ 0.00
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BENEFICIOS ADICIONALES

        VIVASMART *
        Incluye equipaje de mano de 15 Kgs + equipaje documentado de 25 Kgs + Pase VIP + Viva Express + Cambios de        Incluído
        fecha ilimitados + Pase Flex



        Selección de Asientos                                                                                             Incluído

        Puerto Vallarta - Monterrey

                                                                      ASIENTO 2F




        Pase VIP                                                                                                          Incluído

        !Bien jugado! Serás de los primeros en abordar al avión.




        Viva Express                                                                                                      Incluído

        !Bien hecho! Serás de los primeros en documentar el vuelo, utilzando la Fila de abordaje Viva Express.



        Equipaje Documentado                                                                                         MXN $ 732.76

        Equipaje de 25Kg (M)
        1 Maleta Extra 15Kg (CH)
        ¡Tú si sabes ahorrar! - Te acabas de ahorrar hasta un 80% en tu equipaje adicional documentado.
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        Recuerda que cualquier maleta documentada no deberá medir más de 158 centímetros lineales.
        *158 cm = Altura + ancho + el largo



        Equipaje de Mano                                                                                                       Incluído

        Equipaje de Mano de 15 Kg.



        Podrás llevar en cabina una maleta de mano y un artículo personal, que entre los dos, no midan más de 55 x 40 x
        25 centímetros.


        Cargo de Conveniencia                                                                                               MXN $ 0.00

        Ver términos y condiciones




        Pase Flex                                                                                                              Incluído

                                                                                                                 Total:   MXN $ 732.76

COMPENSACIONES




Obtén las mejores ofertas con Viva Aerobus
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¿Buscas algún lugar donde hospedarte? VivaHoteles cuenta con cientos de
habitaciones disponibles, desde la básica hasta la más lujosa, todas ellas a
precios con descuento.

 Buscar Hoteles




¿Pensando en rentar algún auto durante tu viaje? VivaAutos te permite
comparar los precios con las mejores arrendadoras de autos para que
siempre obtengas el mejor precio disponible.

 Buscar Autos




¿Necesitas transportación desde o hacia el Aeropuerto? Ahora es más fácil
que nunca con VivaTransfers. Negociamos con las compañías líderes en
Transporte Terrestre para traerte múltiples opciones a precios increíbles.

 Buscar Transfers




¿Buscando alguna actividad o tour durante tú viaje? VivaAtracciones cuenta
con cientos de opciones en Tours, Atracciones y Actividades en tu destino,
siempre a precios con increíbles descuentos.

 Buscar Atracciones
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                                                                                                    BOOKING: I2DWGY
                                                                                                    PVR - MTY mar. 25 2018 16:25 hr
                                                                                                    MARIANA FERNANDEZ




 El presente documento no representa un comprobante para efectos fiscales. En caso de que desee facturar su reservación, favor de
 acceder a facturacion.vivaaerobus.com


IMPORTANTE – FAVOR DE LEER ANTES DE TU VUELO
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La factura electrónica de tu compra la puedes obtener con nuestros agentes de venta en mostradores, llamando a nuestro Centro de Atención
Telefónica o en el portal de Facturación Electrónica en el enlace: http://facturacion.vivaaerobus.com/. Tienes 30 días naturales para generar la
factura una vez que la reserva está confirmada como pagada. Para mayor detalle consultar el aviso de Facturación Electrónica en el siguiente
enlace: https://www.vivaaerobus.com/mx/mi-vuelo/genera-tu-factura-electronica


1.- Identifica el tipo de reserva que compraste: Tu confirmación indica el tipo de reservación que adquiriste y tu franquicia de equipaje, revísala
muy bien para evitar contratiempos el día de tu viaje y poder identificar si requieres algún servicio adicional y poderlo comprar con tiempo y ahorrar.


2.- Revisa tu franquicia de equipaje (VivaLight, VivaBasico y VivaOTA) Asegúrate de que tu equipaje cumpla con los requisitos de la franquicia
de equipaje que elegiste, y que viajes con el peso que requieras y puedas ahorrar.


3.- Limitaciones para transportar líquidos, geles, cremas y aerosoles en el equipaje de mano: Asegúrate que líquidos, geles, aerosoles y
cremas en tu equipaje de mano estén en envases de máximo 100 ml y colocados en una bolsa de plástico transparente. Si contienen más de 100
ml deberán ser transportados en el equipaje documentado.


4.- Artículos prohibidos: Asegúrate que líquidos, geles, aerosoles y cremas en tu equipaje de mano estén en envases de máximo 100 ml y
colocados en una bolsa de plástico transparente. Si contienen más de 100 ml deberán ser transportados en el equipaje documentado. Da click aquí


5.- Proceso de documentación: Debes presentarte 2 horas antes de la salida del vuelo (nacionales) y 3 horas antes (internacionales) en los
mostradores de documentación. El vuelo se cierra 45 minutos antes de su salida (nacionales) y 60 minutos (internacionales), por lo que es muy
importante llegar con tiempo o de lo contrario perderás tu vuelo.


6.- Identificacion oficial válida para viajar: Debes presentar una identificación oficial para poder viajar, incluyendo pasajeros menores de edad.Da
click aquí para mayor información


7.- Identifica los servicios adicionales que adquiriste con tu reservación: Tu confirmación indica los servicios adicionales que adquiriste. Si
requieres algún otro servicio, te recomendamos lo compres antes de tu vuelo para que puedas ahorrar hasta un 75% ya que el costo en el aeropuerto
es más alto.


8.- Términos y condiciones: Es importante que antes de viajar leas los términos y condiciones que aceptaste al adquirir tu vuelo con Viva Aerobus,
los puedes leer en el siguiente link: https://www.vivaaerobus.com/mx/info/terminos-y-condiciones
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9.- ¿Viajas con menores de edad? Si viajas con menores de edad, consulta la siguiente información sobre los requisitos necesarios para cuando
viajan solos o pasajeros viajando con infantes Da click aquí para mayor información


10.- Adultos mayores y requerimientos especiales: ¿Viajas con un adulto mayor y tienes algún requerimiento especial? Viva Aerobus cuenta,
en cumplimiento de la normatividad exigida por la DGAC, con procedimientos ya establecidos para brindar apoyo a pasajeros con movilidad reducida
o alguna discapacidad, conoce nuestros servicios en el siguiente link https://www.vivaaerobus.com/mx/info/terminos-y-condiciones#Discapacidad


11.- Devolución del costo del Boleto: El Pasajero tiene derecho a cancelar sin cargo alguno su Reservación, siempre y cuando lo solicite dentro
de las 24 horas siguientes a la compra de su Reservación y con al menos 7 (siete) días previos a la fecha de vuelo.
